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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, and JOHN DOE,

                    Plaintiffs,
                                                   No. 3:17-cv-00072 (NKM) (JCH)
      -against-

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES ALEX
 FIELDS, JR., VANGUARD AMERICA,
 ANDREW ANGLIN, MOONBASE HOLDINGS,
 LLC, ROBERT “AZZMADOR” RAY, NATHAN
 DAMIGO, ELLIOT KLINE a/k/a ELI MOSLEY,
 IDENTITY EVROPA, MATTHEW HEIMBACH,
 MATTHEW PARROTT a/k/a DAVID
 MATTHEW PARROTT, TRADITIONALIST
 WORKER PARTY, MICHAEL HILL, MICHAEL
 TUBBS, LEAGUE OF THE SOUTH, JEFF
 SCHOEP, NATIONAL SOCIALIST
 MOVEMENT, NATIONALIST FRONT,
 AUGUSTUS SOL INVICTUS, FRATERNAL
 ORDER OF THE ALT-KNIGHTS, MICHAEL
 “ENOCH” PEINOVICH, LOYAL WHITE
 KNIGHTS OF THE KU KLUX KLAN, and EAST
 COAST KNIGHTS OF THE KU KLUX KLAN
 a/k/a EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                  Defendants.

  MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS DAVID MATTHEW
    PARROTT’S, MATTHEW HEIMBACH’S, AND TRADITIONALIST WORKER
 PARTY’S EMERGENCY INJUNCTION FOR PROTECTIVE ORDER TEMPORARILY
  RESTRICTING EXTRAJUDICIAL STATEMENTS BY PARTIES, THEIR COUNSEL,
           AND ANY ORGANIZATION FUNDING THIS LITIGATION

                   Emery Celli Brinckerhoff Abady Ward & Maazel LLP
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                      New York, New York 10020; (212) 763-5000
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                                  PRELIMINARY STATEMENT

                Three Defendants in this case, Matthew Parrott, Matthew Heimbach, and the

 Traditionalist Worker Party (collectively, “Petitioners”) come to court with an extraordinary

 request: that this Court issue an order forbidding Integrity First for America (“IFA”), a non-

 party, from making any extrajudicial public statements about this case—and specifically from

 carrying out their core, constitutionally-protected mission, which is to advocate around and raise

 funds to pay for security and logistics for the plaintiffs and their trial team. The relief sought is

 nothing short of a prior restraint on sacrosanct First Amendment rights—and, beyond simply

 quoting and screen-grabbing the very fundraising events that they wish to suppress, Petitioners

 offer not a scintilla of evidence, and not a single case, in support of their request. Indeed, they

 make no effort to satisfy the rigorous standards that apply in this context, much less to

 demonstrate, as they must, that the Court’s ordinary tools for ensuring a fair trial will not suffice

 here.

                Petitioners could not make such showings in any event. Conveniently ignoring

 the many outlets that have reported on Defendants’ activities and on this case for years, and the

 torrent of inflammatory speech that Defendants and their supporters have leveled at parties and

 counsel in recent months, Petitioners suggest that just three bits of IFA’s speech—including a

 fundraiser that has now come and gone—could taint the pool of prospective jurors. This is

 woefully insufficient evidence to support a gag order, which must withstand strict scrutiny as a

 prior restraint on speech protected by the First Amendment.

                There is no evidence that the speech Petitioners seek to restrain is “reasonably

 likely” to taint the jury pool; indeed, there is no evidence that anyone in the venire pool was even

 exposed to the speech Petitioners point to. There is also no evidence that, absent relief, the Court

 will be unable to guide whatever jury is ultimately empaneled to an impartial decision, using the
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 many tools at its disposal. At a broader level, a gag order in this case is unlikely to have any

 meaningful effect, given the nature of the public dialogue that already exists around this

 litigation. The public discourse—well beyond anything that IFA, the parties, and their counsel

 have offered—has been raging around this case since the case was filed. The same kinds of

 statements that Petitioners now take umbrage at have appeared as reportage in the mainstream

 press and are not materially different from statements Petitioners now wish this Court to prevent

 IFA from making. This is all quite apart from the hateful and inflammatory rhetoric that some

 Defendants and their partisans have injected into the discourse. From all of this, one conclusion

 emerges: Petitioners are not concerned about the impact of pre-trial publicity on the venire pool;

 rather, they are seeking to use the powers of this Court to prevent IFA from raising money,

 which will be used to keep Plaintiffs and their lawyers safe and to support the trial in

 Charlottesville later this month. For all these reasons, and more, Petitioners’ request should be

 denied.1

                                                   ARGUMENT

 I.       PETITIONERS SEEK AN IMPROPER PRIOR RESTRAINT ON SPEECH
          PROTECTED BY THE FIRST AMENDMENT

          Gag orders like the one Petitioners seek, “[l]ike all court orders that actually forbid

 speech activities, . . . are prior restraints,” and therefore bear “a heavy presumption against [their]

 constitutional validity.” In re Murphy-Brown, LLC, 907 F.3d 788, 797 (4th Cir. 2018) (quoting

 Alexander v. United States, 509 U.S. 544, 550 (1993); Bantam Books, Inc. v. Sullivan, 372 U.S.

 58, 70 (1963)) (internal quotation marks omitted); see also U.S. ex rel. Davis v. Prince, 753 F.


 1
   IFA also wishes to point out, and to preserve as an objection to the proposed relief, the fact that Petitioners never
 effected service of process on IFA. On September 28, 2021, IFA learned of the filing of the instant application from
 the public docket; it immediately alerted the undersigned counsel. To facilitate an orderly litigation of the issue,
 undersigned counsel immediately emailed Petitioners’ counsel Josh Smith, Esq. and offered to accept service of
 process on behalf of IFA. Mr. Smith did not reply, and service on IFA has not been effected. That said, out of
 respect for the Court, IFA submits this memorandum on the merits for the Court’s consideration.


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 Supp. 2d 561, 568 (E.D. Va. 2010) (“Broad gag orders are restraints on expression and raise First

 Amendment concerns.”). As this Court has noted, all speech “is presumptively protected under

 the First Amendment unless it falls within ‘certain well-defined and narrowly limited classes of

 speech.’” Mem. Opinion & Order (May 29, 2020), Dkt. 747 at 4 (quoting In re White, No. 07

 Civ. 342, 2013 WL 5295652, at *38 (E.D. Va. Sept. 13, 2013) (quoting Chaplinsky v. New

 Hampshire, 315 U.S. 568, 571–72 (1942))); see also United States v. Alvarez, 617 F.3d 1198,

 1217 (9th Cir. 2010), aff’d, 576 U.S. 709 (2012).

        “Even among First Amendment claims, gag orders warrant a most rigorous form of

 review because they rest at the intersection of two disfavored forms of expressive limitations:

 prior restraints and content-based restrictions.” In re Murphy-Brown, 907 F.3d at 796–97. A

 party seeking a gag order must therefore show that the gag order will withstand strict scrutiny,

 i.e., that the order (1) advances a compelling interest and (2) is narrowly tailored to serve that

 compelling interest. Petitioners here do not come close to making such a showing; indeed, they

 barely make the attempt. Accordingly, their motion must be denied.

 II.    PETITIONERS CANNOT SHOW A COMPELLING INTEREST IN
        CONSTRAINING IFA’S, PARTIES’, OR COUNSEL’S SPEECH

                There is no compelling interest furthered by a gag order where, as here, there is

 no proof that it is “reasonably likely” that the venire pool will be tainted without such a gag

 order. Indeed, in this case, it is entirely unlikely that such an order would make any difference in

 the public discourse at all, given what has already been said and what others are sure to say about

 the case as the trial proceeds.

        A.      Petitioners cannot show a reasonable likelihood that the Court will be unable
                to seat and guide an impartial jury in this case to an impartial verdict.

                Petitioners do not explicitly identify a compelling interest that their proposed gag

 order advances. Instead, they offer speculation that IFA’s public statements, which are


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 indubitably protected speech, will somehow compromise the Court’s ability to seat an impartial

 jury. Such speculation is not enough to identify a compelling interest in need of protection.

                It is settled law in this Circuit that a compelling interest in fair trial rights exists

 “only when there is a ‘reasonable likelihood’ that a party would be denied a fair trial without the

 order under challenge.” In re Murphy-Brown, 907 F.3d at 797 (citing In re Russell, 726 F.2d

 1007, 1010 (4th Cir. 1984)); Prince, 753 F. Supp. 2d at 568 (“In the Fourth Circuit, district

 courts may restrict extrajudicial statements by parties and counsel only if those comments

 present a ‘reasonable likelihood’ of prejudicing a fair trial.” (cleaned up)). Thus, “a gag order

 may issue only if there is a likelihood that ‘publicity, unchecked, would so distort the views of

 potential jurors that [enough] could not be found who would, under proper instructions, fulfill

 their sworn duty to render a just verdict exclusively on the evidence presented in open court.’”

 In re Murphy-Brown, 907 F.3d at 797–98 (quoting Neb. Press Ass’n v. Stuart, 427 U.S. 539, 569

 (1976)).

                Plainly, publicity alone does not justify the issuance of a gag order; if it did, every

 high-profile case would result in speech being silenced. That is not the rule. In our

 constitutional system, speech is a privileged activity, and jurors and potential jurors are

 presumed to understand that out-of-court commentary—even highly emotional out-of-court

 commentary—is not the same thing as in-court evidence. “An impartial jury . . . need not be

 wholly unaware of information—including potentially prejudicial information—outside the

 record.” Id. at 798; see also Skilling v. United States, 561 U.S. 358, 381 (2010) (“Prominence

 does not necessarily produce prejudice, and juror impartiality . . . does not require ignorance.”).

 “Jurors are not that fragile.” In re Murphy-Brown, 907 F.3d at 798. Accordingly, the question a

 court must decide is not “whether a case has garnered public attention” or “whether public




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 discussion of it risks revealing potentially prejudicial information,” but instead whether it is

 “likely” the trial judge “will be unable to guide a jury to an impartial verdict.” Id.

                   Importantly, the Court has already previously rejected parties’ requests for gag

 orders in this case—precisely because the parties were unable to establish a compelling interest

 in their fair trial rights on the instant facts. In an order denying a Defendant’s motion for a gag

 order restraining Plaintiffs’ counsel’s extrajudicial speech, the Court held that “nothing presented

 thus far suggests counsel’s statements present a ‘reasonable likelihood’ of tainting the jury pool.”

 Order (Mar. 22, 2018), Dkt. 285 at 3 (quoting Prince, 753 F. Supp. 2d at 568) (internal quotation

 marks omitted).2 As this Court has observed, “‘[t]he preferred place’ of free speech and

 expression ‘in our constitutional scheme gives these liberties a sanctity and a sanction not

 permitting dubious intrusions.’” Id. (quoting In re White, 2013 WL 5295652, at *38) (cleaned

 up).

                   Petitioners have offered no evidence that the speech they now seek to restrain

 warrants the “dubious intrusion” of a gag order on non-party IFA—or, for that matter, any gag

 order on any party or attorney in this case. Petitioners do not argue that IFA’s speech contains

 information that is not otherwise available to the public, or that it constitutes prejudicial evidence

 that may be excluded from trial. Instead, Petitioners object to how IFA, in its advocacy and

 fundraising speech, characterizes Defendants’ beliefs—namely, with what Petitioners call “anti-

 White epithets (e.g., ‘White supremacist,’ ‘neo-Nazi’) and other invective.” In addition to being

 offended by these characterizations, Petitioners speculate that such statements “could become




 2
   On another application, the Court found that, even where a Defendant’s extrajudicial speech came “close to . . . the
 line between protected speech and a true threat of physical violence,” a gag order was improper because Plaintiffs
 had not shown either that the Defendant’s speech was a “‘true threat’ of violence” or that “the fear of violence”
 attributed to [Defendant]’s comment has disrupted Plaintiffs’ ability to prosecute this case.” Mem. Opinion &
 Order, Dkt. 747 at 7 (quoting In re White, 2013 WL 5295652, at *36–61, *63–69, *71).


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 substantial enough” to irreparably taint the jury pool. Mot. for Protective Order (Sept. 27, 2021),

 Dkt. 1114 at 3–4.

                But Petitioners provided no evidence from which the Court can conclude that

 IFA’s speech would so taint the venire pool an impartial jury, and that the Court’s many tools

 and instructions would not successfully guide a jury to an impartial verdict. Petitioners’ only

 evidence is three pieces of IFA’s speech, two of which are emails for which Petitioners offer no

 information about the recipients. They have not shown that any member of the venire has even

 seen this speech, much less that this speech has actually prejudiced so many members of the

 venire that it will be impossible for the Court to guide the eventual jury to an impartial verdict.

 They have not offered any evidence about the “size and characteristics” of the potential jury pool

 that would render it particularly vulnerable to being prejudiced by these three bits of speech.

 Skilling, 561 U.S. at 382 (“Given this large, diverse pool of potential jurors, the suggestion that

 12 impartial individuals could not be empaneled is hard to sustain.”). They have not pointed to

 speech containing “evidence of the smoking-gun variety” which “readers or viewers could not

 reasonably be expected to shut from sight.” Id. at 382–83. They’ve offered no evidence

 whatsoever that the jury pool will be irretrievably tainted. This ends the matter; Petitioners have

 failed to satisfy the first prong of the strict-scrutiny test. See, e.g., In re Murphy-Brown, 907

 F.3d at 798 (vacating a gag order where the district court found, “without adequate factual

 findings or development of a record,” that a “‘significant increase in trial publicity’ supported the

 gag order”); Jones v. City of Danville, No. 20 Civ. 00020, 2021 WL 3713063, at *13 (W.D. Va.

 Aug. 20, 2021) (“defendants have failed to put forth sufficient facts to show that there is a

 ‘reasonable likelihood’ that they would be denied a fair trial absent a gag order” where “the only

 evidence offered is a handful of online articles, all of which appear to have been published” three




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 years prior); see also Neb. Press Ass’n, 427 U.S. at 583 n.10 (holding that, in a criminal case,

 evidence that public statements “tended clearly to connect the accused with the slayings” and

 “that it is already doubtful that an unbiased jury can be found” was insufficient to justify a

 blanket gag order). Crucially, Petitioners have failed to set forth any evidence suggesting that

 the Court cannot ensure impartiality of the jury “through use of larger jury pools, jury

 instructions, voir dire, and other tools.” Jones, 2021 WL 3713063, at *13.

                   “If judges can guide the jury to an impartial verdict, then no gag order may issue.”

 In re Murphy-Brown, 907 F.3d at 798.

     PETITIONERS CANNOT ESTABLISH THAT THE GAG ORDER THEY SEEK WILL
            HAVE A MEANINGFUL IMPACT ON THE PUBLIC DISCOURSE.

                   In order to establish a compelling interest in a gag order, Petitioners must also

 show that their proposed gag order would have an actual effect on the public discourse. In re

 Murphy-Brown, 907 F.3d at 798 (“Sometimes the inevitability of publicity surrounding civil

 proceedings will render a gag order entirely superfluous.”). If a gag order would not “operate to

 prevent the threatened danger,” Neb. Press Ass’n, 427 U.S. at 562, it may not issue.

                   This case and others arising from the Charlottesville Unite the Right rally have

 been the subject of extensive public dialogue in the local and national media for years, and more

 recently as the trial has approached—all having little or nothing to do with the IFA fundraising

 effort to which Petitioners now claim to take umbrage. Much of the discourse emanating from

 mainstream news sources and elsewhere—sources other than IFA, or the Plaintiffs, or their

 counsel—includes the exact same language that Petitioners now identify as “invective”

 warranting a blanket prior restraint.3 Moreover, even as Petitioners object to IFA’s speech and


 3
  See, e.g., Cynthia Miller-Idriss, Infowars’ school shooting lies cost Alex Jones and put extremists on alert,
 MSNBC (Oct. 5, 2021), https://www.msnbc.com/opinion/infowars-school-shooting-lies-cost-alex-jones-put-
 extremists-alert-n1280803 (“. . . less than a month before the trial in the suit against two dozen white supremacist


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 suggest that it has poisoned the well, Defendants themselves—including Petitioners—have

 engaged in substantial inflammatory public speech regarding this case, including repeated anti-

 Semitic, misogynist, and homophobic statements aimed specifically at IFA, its Executive

 Director Amy Spitalnick, and Plaintiffs’ counsel Roberta Kaplan.4 Others who share

 Defendants’ ideology but who are not parties to this lawsuit, including radio and podcast hosts

 and individuals on social media who direct similar language at Plaintiffs and counsel, have

 echoed and instigated this speech as well. For example, as recently as September 28, 2021,

 James “Jimmy” Fry posted an image of an invitation to an IFA event featuring photos of


 and extremist group leaders for allegedly plotting a conspiracy that led to violence at the Charlottesville rally. . . .”
 (emphasis added)); Mark Hand, White Supremacists To Return To Charlottesville For Civil Trial, Patch (Sept. 22,
 2021), https://patch.com/virginia/fallschurch/white-supremacists-return-charlottesville-civil-trial; (“The return of the
 neo-Nazis and white supremacists who played a role in the weekend of violence in August 2017 will force many
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 The DTM (Sept. 16, 2021), https://www.charlottesvilledtm.com/p/take-aways-the-week-in-review-d37 (“Reminder:
 white supremacy goes on trial next month in the Sines v. Kessler lawsuit.” (emphasis added)); Avi Poster &
 Deborah Oleshansky, How to dismantle the white supremacist movement: from Charlottesville to the U.S. Capitol,
 Tennessean (Feb. 8, 2021), https://www.tennessean.com/story/opinion/2021/02/08/dismantle-white-supremacist-
 movement-attend-feb-11-event/4444071001/ (“Sines v. Kessler details how the white supremacist organized “Unite
 the Right Rally” in Charlottesville was neither a peaceful counter-protest nor a demonstration of First Amendment
 speech, but rather a meticulously planned conspiracy to bring violence to Charlottesville and attack peaceful
 protesters.” (emphasis added)); Sasha Ingber, Neo-Nazi James Fields Gets 2nd Life Sentence For Charlottesville
 Attack, NPR (July 15, 2019), https://www.npr.org/2019/07/15/741756615/virginia-court-sentences-neo-nazi-james-
 fields-jr-to-life-in-prison; Christa Case Bryant & Patrik Jonsson, Jason Kessler and the 'alt-right' implosion after
 Charlottesville, Christian Science Monitor (Aug. 9, 2018),
 https://www.csmonitor.com/USA/Politics/2018/0809/Jason-Kessler-and-the-alt-right-implosion-after-Charlottesville
 (“Numbering more than 500, Charlottesville was one of the largest gatherings of white supremacists in the modern
 era.” (emphasis added)).
 4
   See, e.g., Matthew Parrott, @TiffPollardFan, Twitter (Aug. 21, 2021) (“The ENTIRE case for the plaintiffs
 consists of gaming the discovery process for the technical, procedural construction of adverse inferences stacked
 upon adverse inferences into a fully fabricated fictional case.”); Michael Hill, “Southern Nationalist,” Telegram
 (Apr. 30, 2021), https://t.me/sonat61 (“America is and has always been a country built and sustained for and by
 Whites. We’re determined that a minority of jews and non-Whites will not get away any longer with their lies and
 subterfuge against the founding stock of this country. We are not afraid of ourselves, Miss Spitalnick, and if you’re
 afraid of us, then it’s because you know we’re aware of your bad intentions towards us. The jew-black alliance is
 about one thing: gaining enough power to destroy White resistance to the overthrow of our civilization.”);
 Anonymous, Stormfront (Feb. 1, 2021), https://www.stormfront.org/forum/t1330534/ (“Like her hyper-litigious
 Jewish co-ethnic Amy Spitalnick (Amy Spitalnick / 20/20 Judaism), Roberta A. Kaplan is obsessed with
 ethnocentric Whites and has been engaging in ‘lawfare’ in order to destroy any individual or movement that is even
 marginally pro-White, including Donald Trump and anyone else that these nation-wreckers slander with the
 ‘Nazi[tm]’ label.”), Christopher Cantwell, “Christopher Cantwell,” Telegram (June 26, 2019),
 https://t.me/followchris (“After this stupid kike whore loses this fraudulent lawsuit, we're going to have a lot of
 fucking fun with her.”); James Kessler, @TheMadDimension, Twitter (Feb. 17, 2018) (“I’m never one to engage in
 conspiracy talk or blame everything on other ethnic groups but this Integrity First for America is a blatant front for
 powerful Jews to vent their ethnic hostility towards whites organizing as a political class.”).


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 speakers, adding the following text: “Let’s talk about K*kapalooza taking [p]lace in

 Charlottesville this October, and take a look at these freaks who should be caged.”5




 James Fry’s speech would not be affected by the gag order that Petitioners seek.

                    Given the significant public dialogue around this case, any gag order restraining

 parties, counsel, or fundraising entities like IFA would be “entirely superfluous.” Murphy-

 Brown, 907 F.3d at 798. For this reason as well, Petitioners cannot establish a compelling

 interest in such a gag order, and their petition must be denied.

 5
     James Fry, “Jimmy,” Telegram (Sept. 27, 2021), https://t.me/GDLCHAT.


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 III.   PETITIONERS’ PROPOSED GAG ORDER IS NOT NARROWLY TAILORED,
        EVEN IF THEY COULD SHOW A COMPELLING INTEREST

                Even if Petitioners could establish a compelling interest, they cannot show that

 their proposed gag order is narrowly tailored to further that compelling interest.

                The test for “narrow tailoring” is one that focuses on options: is there a

 mechanism other than a prior restraint by which the harm feared can effectively be avoided? The

 answer, in this case emphatically, is yes. Courts have numerous tools by which they can ensure

 that parties receive a fair trial, pre-trial publicity notwithstanding. Such tools include expanded

 jury pools, voir dire, “cautionary jury instructions,” and even jury sequestration. In re Murphy-

 Brown, 907 F.3d at 799. Gag orders are the rare exception; they are not the rule. In order for a

 Court to issue a gag order restraining anyone’s speech, it must explain why those other powerful

 tools are insufficient to ensure jury impartiality in a particular case. See id. (“The gag order

 failed to explain if and why these alternatives had proven ineffective.”).

                The Fourth Circuit has specifically highlighted the judicial system’s “abundant

 trust in voir dire.” Id. (Voir dire “can serve in almost all cases as a reliable protection against

 juror bias however induced.” (quoting In re Charlotte Observer, 882 F.2d 850, 856 (4th Cir.

 1989)) (internal quotation marks omitted). As Petitioners themselves acknowledge, this Court

 has already “conclude[d] that extensive voir dire will be sufficient to overcome any

 contamination in the pool of prospective jurors.” Mot. for Protective Order, Dkt. 1114 at 3.

 Petitioners have offered no evidence to suggest that voir dire is suddenly insufficient to ensure

 an impartial jury; no such evidence exists. Absent compelling evidence along these lines,

 Petitioners’ proposed sweeping gag order is not “narrowly tailored” to serve a compelling

 interest; thus, it cannot lawfully be issued. See Jones, 2021 WL 3713063, at *14 (denying gag

 order where “the defendants seek to prohibit presumably all ‘extrajudicial statements by



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 attorneys to the media, including, but not limited to, press conferences, press releases, or

 interviews,’ without offering a single exception.”).

                                          CONCLUSION

                For the foregoing reasons, IFA respectfully requests that the Court deny

 Petitioners’ motion for a protective order.

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